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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CHURCH MUTUAL INSURANCE
 COMPANY, now known as
 CHURCH MUTUAL INSURANCE
 COMPANY, S.I.,

                   Plaintiff,

 v.                                                Case No. 3:21-CV-1022-NJR

 STILLWATER SENIOR LIVING, LLC,
 and SIERRA ALLEN,

                   Defendants.

                         JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

       This matter having come before the Court, and the Court having rendered a decision,

       IT IS ORDERED AND ADJUDGED that, pursuant to the Stipulation for Dismissal dated

September 28, 2021 (Doc. 9), this entire action was voluntarily DISMISSED without prejudice

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

       DATED: September 29, 2021

                                                     MARGARET M. ROBERTIE,
                                                     Clerk of Court

                                                     By: s/ Deana Brinkley
                                                            Deputy Clerk


APPROVED: ____________________________
          NANCY J. ROSENSTENGEL
          Chief U.S. District Judge
